                                               Case 3:22-mj-04082-CDB Document 1 Filed 02/16/22 Page 1 of 2


                                United States District Court
                                     Violation Notice
                                                                                                                         (Rev.1/2019)                              STATEMENT OF PROBA BLE CAU SE
                                                                                                                                                                 (For issuance of an arrest warrant or summons)
Location Code          Violation Number                              fficer Name                                fficor No.

A41                    FBEA00P3                                    She lton                                     2234                      I state that on January 31, 2022            while exercising my duties as a law enforcement
                                                                                                                                          officer in the                      Arizon a                      District of             AZ
   YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
 Date and Time of Offense                             Offense Charged                    OCFR        • use • State Code                   Pursuant to 16USC 551: al approximately 1130 hours, United States Forest Sorvice (USFS) Officer
 01/31/2022                    11 :30                 FED               36CFR           261 .6A                                           ROPER, USFS Special Agent ROBINSON and I responded to a report of two subjects illegally
                                                                                                                                          cutting live/green juniper trees along National Forest System Road (NFSR) 9598E on the Black Mesa
 Place of Offense                                                                                                                         Ranger District, Sitgreaves National Forest, Navajo County, AZ. Upon arrival, I observed a large
                                                                                                                                          green alligator juniper cut down with a Sthil MS310 Chainsaw sitting on the fresh cut stump and two
 NFSR 9598E                                                                                                                               subjects actively engagerl in ramn,,aI activities of the juniper pieces. A red 1997 Dodge 2500 pickup
                                                                                                                                          bearing AZ license plate             with attached flatbed trailer was backed up to the freshly cut down
 Offense Description: Factual Basis for Charge                                                                          HAZMAT        D   juniper. I con tacted both su0Jects identified as Byron HUNT and Diana BUSCH with their AZ driver's
                                                                                                                                          license information. I asked them if they had a firewood permit and if he had been issued a firewood
 CUT, DAMAGE TREE OR FOREST PRODUCT WITHOUT AUTHORIZATI ON                                                                                permit in the past. HU NT said he had a permit but did not have his permit with him, it was at his
                                                                                                                                          house. HUNT said he has had several wood cutting permits in the past. I asked whose saw was
                                                                                                                                          sitting on the slump. BUSCH said the Sthil MS310 was hers. HUN T said he also used his Sthil MS
                                                                                                                                          440 chainsaw to cut the juniper and handed it to me. I asked them what they were going lo uso the
                                                                                                                                          juniper for. HUNT said, "for personal use for firewood •. HUNT said he knew it was wrong. SA
                                                                                                                                          ROBINSON and I measured the approxima te dimensions of the alligator juniper as follows: Length
DEFENDANT INFORMATION                                               Phone: (          928
                                                                                                                                          from base cut to top cut is 23ft 6in; Base width at cut is 3ft x 3.5 ft (caliper inch: 36in x 42in). There
                                                                                                                                          were several cut rounds on the ground that had already been cut from the top. Witness who held the
 Last Name                                                                    First Name                                       M.I.
                                                                                                                                          areas commercial permit observed HUNT and BUSCH cutting the alligator juniper that day along with
 HUNT                                                                         BYRON                                            J          HUNT & BUSCH cu tting and removing other trees from that commercial permit area along NFSH
                                                                                                                                          9598E the previous weekend. According to USFS Timber Staff the estimated value of the alligator
 Street Address                                                                                                                           Juniper was S366.61 for purchase of a fuclwood permit valuation at 2.25 cords. According to the
                                                                                                                                           most current 2011 Arizona State Native Plant current fair market value list, the value would be for the
                                                                                                                                           maximum listed at 20-24 caliper inch-all other trees al $3,600.00 (See Resource Value Estimate
 City                                              State             Zip Code                   Date of Birth (mm/dd/yyyy)                Report and Incident Report#22-03-MBEA19I) I issued HUNT and BUSCH each mandatory
                                                                                                                                           appearance violation notices for:
 HEBER                                             AZ               85928                                  1981
 Drivers license No.                         CDL    D       D.L. State        Social Security No.                                         36 CFR 261.6(a) - CUT, DAMAGE TREE OR FOREST PRODUCT WITHOUT AUTI IORIZIITION

                                                            AZ

 lx) Adult   •   Juvenile Sex        ~     Male       D          Female
                                                                              Hai r
                                                                              BR
                                                                                       Eyes
                                                                                        GR 5
                                                                                                 Heigh t
                                                                                                       I   10   II
                                                                                                                        Weight
                                                                                                                         192
 VEHICLE                      VIN:                                                                                              CMV 0

 Tag No.                                      State              Year         Mako/Model        PASS    D     Color

                                              AZ                  1997        DODG                           RED
                 APPEARANCE IS REQUIRED                                                APPEARANCE IS OPTIONAL
                                                                                                                                          The foregoing statement is based upon:
 A       [&}     If Bo,c A is checked, you must appear in           8     0      If Box Bis checked, you musl pay the total collateral
                                                                                                                                                                          MY PERSONAL INVESTIGATION
                 court. See inslruclions.                                        due or in lieu ol payment appear in cour1 See
                                                                                 Instructions.

                                                                                                                                          I decla re under penalty of perjury that the informat ion which I have set forth above and
                                                                                                            Forfeiture Amount             on the face of this viola tion notice is true and correct to the best of my knowledge.
                                                                     ---------- Processing Fee
                                                                          $30.00
             PAY THIS AMOUNT AT
             www .cvb .uscourts.gov                                                                                                                               01/31/2022 .


                                                                                                                                                  --
                                                             •                                              Total Collateral Due          Executed on:
                                                                                                                                                                   Date (mm/dd/yyyy)                       Officer's Signature

                                                                                                                                                                                                                      ri
                                              YOUR COURT DATE
         If no court a       earance date is shown, ou will be notified of our a                    earance date b mail.
                                                                                                                                                                                                                           '
 Court Address                                                                                        Date (mm/dd/yyyy)                   8'Probable cause has been stated for the issuance of a wa

  U.S. District Court - Flagstaff, AZ (928) 744-2566                                                  02/16/2022                                                    z,
                                                                                                      Time (hh:mm)                         E xecu ted o n :
  123 N. San Francisco Street, Ste 200 Flagstaff, AZ
                                                                                                      09: 00                                                        Date (mm/dd/yyyy)
     My sign ature signifies tha t I ha ve received a copy of this violation notice. lt is not an admission of guilt.
     l promise to appear for the hearing at the time and place instructed or in lieu of appearance pay the
     total collateral due.
  X Defendant Signature                                                                                                                   HAZMAT = Hazardous material involved in incident; PASS = 9 or more passenger vehicle ;
                                                                                                                                          CDL = Commercial drivers license;   CMV = Commercial vehicle involved in incident
                                                        Office(s Copy (Pink)
                                            Case 3:22-mj-04082-CDB Document 1 Filed 02/16/22 Page 2 of 2


                              United States District Court
                                   Violation Notice
                                                                                                                                  (Rev.1/20 19)                                STATEME NT OF PROBABLE CAUS E
Location Code
                                                                                                                                                                              (For iss uance of an arrest warran t or summons)
                     Violation Numbe r                            p tticer Name                                       Officer No .

A41                  FBEAOOP5                                      Shelto n                                            2234                           I state that on January 31, 2022             w hile exercising my duties as a law enforcement
                                                                                                                                                      office r in the                      Arizona                       District of              I\Z
   YOU ARE CHARG ED WITH THE FOLLOWIN G VI OLATION
 Date and Time of Offense                            Offense Charged                            0 CFR        • use • State Code                       Pursuant to 16USC 55 1: at approxima tely 1130 hours, United Sta tes Forest Service (USFS) Officer
 01 /3 1/2 022               11 :30                  FED                    36CFR               261 .10L                                              ROPER , USFS Special Agent ROBINSON and I responded lo a report of two subjects illegally
                                                                                                                                                      cutting live/green juniper trees al ong National Fores! Sys tem Road (NFSR ) 9598E on the 13I.ick Mesa
 Place of Offense                                                                                                                                     Ranger Dislricl, Silgreaves National Fores t, Navajo County, AZ. Upon arri val, I observed a large
                                                                                                                                                      green alligator juniper cut down with a Sthil MS310 Chainsaw sitting on the fresh cut stump and two
 NFSR 9598 E                                                                                                                                          subjects actively engagerl in rnm"val activities of the juniper pieces. A red 1997 Dodge 2500 pickup
                                                                                                                                                      bearing AZ license plate              with attached flatbed tra iler was backed up to the freshly cut down
 Offense Description : Factua l Basis for Charge                                                                                HAZMAT
                                                                                                                                              •       juniper. I contacted both suoiocts identified as Byron HUNT and Diana BUSC H with their AZ driver's
                                                                                                                                                      license information . I asked th em if they had a firewood perm it and if he had boon issued a fire wood
 VIOLATIONS OF TERMS OR CON DITIONS O F FOREST PRODUCTS PERM IT                                                                                       permit in the past. HU NT said he had a pe rmit but did not have his permit with him, he sai d it wa s at
                                                                                                                                                      his house. HUNT said he has had several wood cutting permits in the past. I asked whose saw was
                                                                                                                                                      si tting on the stump. BUSCH sa id the Sthil MS3 10 was hers. HUNT said he also used his Sthi l MS
                                                                                                                                                      440 chainsaw to cut the juniper and handed it to me. I asked thorn what th ey were goi ng to use tho
                                                                                                                                                      ju niper for. HUNT said, "for pe rsona l use for firewood" . HU NT said he kn ew it was wrong . SA
                                                                                                                                                      ROBINSON and I measured the approxima te dimensions of the alligator juniper as follow s: Lengt h
DEFENDANT IN FORMATION                                              Phone : (             928         )
                                                                                                                                                      from base cut to top cut is 23 ft 6in; Base width at cut is 3ft x 3.5 fl (caliper inch: 36in x 42i n). Thero



                                                                                                                                     It
                                                                                                                                                      were several cut ro unds on the ground that had already been cut from the top. Witness who hold the
 Last Name                                                                         First Name
                                                                                                                                                      areas commercial permit observed HU NT an d BUSCH cutting the allig ator juniper tha t da y along with
 HUNT                                                                              BYRON                                                              HUNT & BUSCH cu tting and removing oth er trees from that co mmercial permit area along NFSH
                                                                                                                                                      9598E the previous weekend. According to USFS Timber Sta ff the estimated value of the alligator
 Stre et Address                                                                                                                                      Juniper was $366.6 1 for purcha se of a fuelwood permit va luation at 2.25 cords. According to the
                                                                                                                                                      most current 20 11 Arizona State Native Plant current fair market value list , the value would be for the
                                                                                                                                                      maximum li sted at 20-24 caliper inch-all oth er trees at S3 ,600.00 (See Resource V al ue Esti mate
 City                                                                 Zip Code                       IDate of Birth (mm/dd/yyyy)                      Report and Incident Reporl#22-03-MBEA 191). According to LEO LOPEZ who is assigned to tho
                                                                                                                                                      Black Mesa District, HUN T and BUSCH have a criminal history of forest products violations. I issueQ
 HEBER                                         1~e                    85928                           , .-             31
                                                                                                                                                      HUNT and BUSCH each manda tory ap pearance viola tion notices for:
 Drivers License No.
                                           CDL   •   1 ~ Sta te
                                                                                   Social Secu rity No .
                                                                                                                                                      36 CFR 261 .6(L) - VIOLATIONS OF TERMS OR CONDITIONS OF FOREST PRODUCTS PEHMll


     • JuvenileI ~
 [&) Adult                Sex           Male      D          Female                sR Ic:;R I             s ig~t 1  o " I1992
                                                                                                                                         1

                      -                        - -
 VEH ICLE       1\. .                                         ~   ... r-,   "'. U , '                                                   CMV       •
 Tag No.
                                         1:te
                                                         I   Year
                                                                                   Make/Model             PASS   DI   Color                                                                                                                                    t

                                                              1997                 DODG                              RED                                                                                                                                           '
               APPEARANCE IS REQU IRE D                                                       APPEARANCE IS OPTIONAL
                                                                                                                                                      The foregoing statement is based upon :
 A       [&)   If Box A is checked, you must appear in
               cour t. See mslruchons.
                                                                    B
                                                                              •         If 8 011 B is checked, you must pay the total coHaleral
                                                                                        due or in lieu or payment appear in court. See
                                                                                        instructions .
                                                                                                                                                                                       MY PERS ONAL OBS ER VATION


                                                                                                                                                      I declare under penalty of perjury that the information which I have se t forth above and
                                                                                                                    Forfeiture Amount                 on the face of this vi olation notice is tru e and correct to th e best of my knowledge.
                                                                            $ 30 .00                               Processing Fee
          PAY TH IS AM OUNT AT
          www.cvb.uscourts. gov                          •
                                                                       I                                             Total Collatera l Due            E xecu ted o n :        01/3 1/2022                                R. . ]A~
                                            YOUR COURT DATE                                                                                                                     Date (mm/dd/yyyY)                       Offi cer's Signature
         (I f no cou rt aooearance da te is shown, vou will be notified of vou r aocearance date bv m ail.)
 Court Addre ss                                                                                              Date (mm/dd/yyyy)

                                                                                                              02/16/2022
                                                                                                                                                      •    Probable cau se has been slated for the issuance of a warra nt.

  U.S. District Court - Flagstaff, AZ. (928 ) 744-2566
                                                                                                             Time (hh:mm)                              Exe c ute d on :
  123 N. San Francisco Street, Ste 200 Flagstaff, AZ.
                                                                                                              09 :00                                                            Date (mm/dd/yyyy)                       U .S. Mag istrate Judge
     My signature signifies that I have received a copy of thi s vi ola tion notice. It is not an admission of guilt.
     I promis e to appear for the heari ng at the time and pl ace instruc ted or in lieu of appearance pay the
     total collateral due.
  X Defendant Signature                                                                                                                               HAZMAT ::: Hazardous ma terial involved in incid ent; PASS ::: 9 or more pa ss enger veh icle ;
                                                                                                                                                      COL ::: Commerci al drivers licen se;  CMV ::i: Commercial veh icl e involved in incident
                                                     Officer's Copy (Pink)
